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             IN THE UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF ARKANSAS
                     CENTRAL DIVISION

DA'VETTA FLOWERS                                              PLAINTIFF

v.                        No. 4:18-cv-577-DPM

KENDALL W. PENN, Major General,
Adjutant General for the State of
Arkansas                                                   DEFENDANT

                                 ORDER
     1.    Flowers' s motion in limine, Doc. 86, is partly granted and
partly denied. Here are the Court's rulings:
     • Workplace Complaints against Flowers
     Denied, with directions.        Porterfield' s deposition testimony
(29:1-14 & 66:7-15) is fine. If any other decisionmaker involved in the
August 2017 selection of Bruno over Flowers had received reasonably
recent complaints from those Flowers supervised, that evidence is
relevant and admissible. Flowers may cross, though, on whether any
such complaint carried any weight and whether this is a belated reason
for the decision.
     • Norris's Lawsuit against the Arkansas Military Department
     Granted without objection.
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     • The Emergency Hire Program
     Denied.     The reasons behind the Department's use of the
emergency hiring process in 2017 are at the core of this case. Weighing
competing proof about whether the implementation of that process in
this instance deviated from typical departmental practices is a jury task.
The jury is entitled to the proof from both sides.


     2.    Penn's motion in limine, Doc. 82, is partly granted and partly
denied. Here are the Court's rulings:
     • Evidence and Testimony of Dismissed Claims
     Granted without objection.
     • Flowers's Mental Health Treatment
     Partly granted and partly denied. Most of the treatment records
at issue deal directly with claims that have passed out of the case. Those
are excluded.
     There is, however, some admissible material here. First, it's clear
that Dr. Courtney Crutchfield' scare and treatment of Flowers predated
the 12 June 2018 encounter. The note from that encounter is admissible.
And Dr. Crutchfield will be allowed to explain that note and how it
relates to the alleged deterioration of Flowers' s mental health stemming
from the August 2017 non-promotion. Second, the billing records are
admissible to the extent that Dr. Crutchfield' s testimony or Flowers' s
testimony can tie each entry to the existing claims. That may open the


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door to Penn's introduction of the otherwise excluded treatment
records to refute the total amount of damages. In that event, the Court
will rule contemporaneously on any objections that arise.
     • Other Lawsuits against the Arkansas Military Department
     Granted without objection.
                                  * * *
     So Ordered.



                                          D.P. Marshall Jr.
                                          United States District Judge




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